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 5
                          IN THE UNITED STATES DISTRICT COURT
 6
                        FOR THE EASTERN DISTRICT OF CALIFORNIA
 7

 8
                                           ) Case No.: CR.S. 07-126 EJG
     United States,                        )
 9
                                           ) MOTION TO EXONERATE BOND
                   Plaintiff,              )
10
                                           ) AND ORDER THEREON
             vs.                           )
11
                                           )
     Javon Gill,                           )
12
                                           )
                   Defendant.              )
13
             All charges against Javon Gill were dismissed on January 9,
14
     2009.    Mr. Gill was on pre-trial release secured by the property of
15
     his Uncle, James Brown.     Mr. Brown’s property is located at 260
16
     Columbus Drive, Fairfield, CA, 94533. Mr. Gill’s case is now closed.
17
     Mr. Gill therefore moves this Court to order that bond on the property
18
     listed herein be exonerated.
19
     DATE:    January 30, 2009
20
                                                Respectfully submitted,
21
                                                __/s/ Shari Rusk
22                                              Shari Rusk
                                                Attorney for Defendant
23                                              Javon Gill
24
                                   ORDER
25

26
     It is so ordered.

27
                                   /s/ Edward J. Garcia
28   DATE:     2/3/09              Hon. Judge Edward J. Garcia
                                   United States District Court Judge
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